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        In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                              No. 15-686V
                                       Filed: February 12, 2016
                                            UNPUBLISHED
*********************************
WENDY NORRIS,                                      *
                                                   *
                         Petitioner,               *
                 v.                                *
                                                   *       Attorneys’ Fees and Costs; Stipulation
SECRETARY OF HEALTH AND                            *       Special Processing Unit (“SPU”)
HUMAN SERVICES,                                    *
                                                   *
                         Respondent.               *
                                 *
*********************************
Andrew Downing, Esq., Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Camille Collett, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On July 1, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the “Vaccine
Act” or “Program”]. Petitioner alleged that she suffered a shoulder injury related to
vaccine administration (“SIRVA”) resulting from the influenza vaccination she received
on October 6, 2014. Petition at 11. On December 18, 2015, the undersigned issued a
decision awarding compensation to petitioner based on respondent’s proffer.

       On February 11, 2016, the parties filed a Stipulation of Fact Concerning
Attorneys’ Fees and Costs. According to the stipulation, the parties stipulate to an
award to petitioner of attorneys’ fees and costs in the amount of $ 14,287.17. In


1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioners have 14 days to identify
and move to redact medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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accordance with General Order #9, petitioner’s counsel represented that petitioner
incurred no out-of-pocket expenses. Stipulation, filed Feb. 11, 2016, at ¶ 4.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42
U.S.C. § 300 aa-15(e). Based on the reasonableness of petitioner’s request and the
lack of any objection by respondent, the undersigned grants the request for approval
and payment of attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $ 14,287.17,3 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel,
Andrew Downing.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                         s/Nora Beth Dorsey
                                                         Nora Beth Dorsey
                                                         Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y, HHS, 924
F.2d 1029 (Fed. Cir.1991).

4Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).


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